
PER CURIAM.
We did this day enter our opinion and decision in the case of Town of Palm Beach v. Royal Palm Beach Hotel, Inc., 298 So.2d 439 (4th D.C.A.Fla., o’pn. filed July 19, 1974). Its similarities are such as to render its rationale equally applicable here. Upon its authority and upon the basis of the reasoning therein contained, we reverse and remand with respectful instructions that the parties be allowed to amend their pleadings as they are advised within a reasonable length of time to be set by the trial court in its discretion. Such amendments and other pleadings as shall be appropriate shall be as prescribed by the Florida Rules of Civil Procedure. Intervention shall be permitted, if deemed proper by the trial court. Of course, if the controversy shall be abandoned, the cause shall be dismissed.
Reversed and remanded for further proceedings consistent herewith.
WALDEN and MAGER, JJ., and FERRIS, JOHN G., Associate Judge, concur.
